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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

                                                   )
 ROBYN KRAVITZ, et al.,                            )
                                                   )
       Plaintiffs,                                 )
                                                   )
       v.                                          )
                                                   )         Civil Action No. 18-1041-GJH
 UNITED STATES DEPARTMENT OF                       )
 COMMERCE, et al.,                                 )
                                                   )
       Defendants.                                 )
                                                   )
                                                   )

                          DEFENDANTS’ MOTION FOR LEAVE TO
                          WITHDRAW APPEARNCE OF COUNSEL

       We write to advise the Court that going forward Defendants the United States Department of

Commerce, Secretary Wilbur L. Ross, Jr., the Bureau of the Census, and Steven Dillingham,

Director of the U.S. Census Bureau will be represented in this matter by different counsel from the

Department of Justice. Because the Civil Division has been involved in litigating this case to date

and new attorneys from the Civil Division will be entering their appearances, Defendants do not

expect that withdrawal of current counsel will cause any disruption in this matter.

       Accordingly, Pursuant to Local Rule 101(2)(b), Defendants respectfully request that the

Court approve the withdrawal of the following counsel and no longer send them docketing

notifications via the ECF system: James Burnham, Garrett Coyle, Stephen Ehrlich, Courtney

Enlow, Joshua Gardner, John Griffiths, and Martin Tomlinson.

       A proposed Order is submitted with this motion.




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DATED: July 8, 2019                    Respectfully submitted,

                                       JOSEPH H. HUNT
                                       Assistant Attorney General

                                       DAVID M. MORRELL
                                       Deputy Assistant Attorney General

                                       /s/ Glenn M. Girdharry
                                       CHRISTOPHER A. BATES
                                       GLENN M. GIRDHARRY
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                                       Counsel for Defendants




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                                   CERTIFICATE OF SERVICE

        I certify that on July 8, 2019, I electronically filed the foregoing with the Clerk of Court by
using the CM/ECF system which will deliver a copy to all counsel of record.

                                               s/ Glenn M. Girdharry
                                               GLENN M. GIRDHARRY
                                               United States Department of Justice
                                               Civil Division




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